Case
   Case
     1:22-cv-00370-CCE-JLW
        1:22-cv-00370 Document
                           Document
                               1-1 Filed
                                     3 Filed
                                         05/13/22
                                             05/13/22
                                                  PagePage
                                                       2 of 39
                                                            1 of 6
Case
   Case
     1:22-cv-00370-CCE-JLW
        1:22-cv-00370 Document
                           Document
                               1-1 Filed
                                     3 Filed
                                         05/13/22
                                             05/13/22
                                                  PagePage
                                                       3 of 39
                                                            2 of 6
Case
   Case
     1:22-cv-00370-CCE-JLW
        1:22-cv-00370 Document
                           Document
                               1-1 Filed
                                     3 Filed
                                         05/13/22
                                             05/13/22
                                                  PagePage
                                                       4 of 39
                                                            3 of 6
Case
   Case
     1:22-cv-00370-CCE-JLW
        1:22-cv-00370 Document
                           Document
                               1-1 Filed
                                     3 Filed
                                         05/13/22
                                             05/13/22
                                                  PagePage
                                                       5 of 39
                                                            4 of 6
Case
   Case
     1:22-cv-00370-CCE-JLW
        1:22-cv-00370 Document
                           Document
                               1-1 Filed
                                     3 Filed
                                         05/13/22
                                             05/13/22
                                                  PagePage
                                                       6 of 39
                                                            5 of 6
Case
   Case
     1:22-cv-00370-CCE-JLW
        1:22-cv-00370 Document
                           Document
                               1-1 Filed
                                     3 Filed
                                         05/13/22
                                             05/13/22
                                                  PagePage
                                                       7 of 39
                                                            6 of 6
